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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


EVELYN RODRIGUEZ,

                Plaintiff,

        v.
                                                                 CASE NO. 3:20-cv-01079
PUTNAM COMMUNITY MEDICAL
CENTER OF NORTH FLORIDA, LLC,
A Florida Limited Liability Company, and
PARALLON ENTERPRISES, LLC d/b/a
HCA HEALTHCARE

                Defendant(s).


 DEFENDANT PUTNAM COMMUNITY MEDICAL CENTER OF NORTH FLORIDA,
      LLC’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
              COMPLAINT AND DEMAND FOR JURY TRIAL

        Defendants Putnam Community Medical Center of North Florida, LLC (“PCMC”), hereby

files its Answer and Affirmative Defenses to Plaintiff Evelyn Rodriguez’s (“Plaintiff”) Complaint

and Demand for Jury Trial (“Complaint”). Responding to the correspondingly numbered

paragraphs of Plaintiff’s Complaint, and using the same numbered paragraphs and headings that

appear therein, Defendant states as follows:

                                          INTRODUCTION

        1.      Defendant acknowledges only that Plaintiff brings this action pursuant to Title VII

of the Civil Rights Act of 1964, 42 U.S.C. §§2000e, et seq. (“Title VII”), as amended by the

Pregnancy Discrimination Act of 1978 (“PDA”), the Florida Civil Rights Act of 1992, Fla. Stat,

§§760.01, et seq. (“FCRA”), and the Family and Medical Leave Act, 29 U.S.C. 2601, et seq.

(“FMLA”), but denies that any unlawful employment practices occurred, that Defendant is liable

to Plaintiff, or that Plaintiff is entitled to any relief whatsoever.
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                                  JURISDICTION AND VENUE

        2.      Defendant acknowledges only that this Court has jurisdiction, but denies that any

unlawful employment practices occurred, that Defendant is liable to Plaintiff, or that Plaintiff is

entitled to any relief whatsoever.

        3.      Defendant acknowledges only that this Court has supplemental jurisdiction over

Plaintiff’s FCRA claims, but denies that any unlawful employment practices occurred, that

Defendant is liable to Plaintiff, or that Plaintiff is entitled to any relief whatsoever.

        4.      Defendant admits only that venue with this Court is proper, but denies that any

unlawful employment practices occurred, that Defendant is liable to Plaintiff, or that Plaintiff is

entitled to any relief whatsoever.

                      SATISFACTION OF CONDITIONS PRECEDENT

        5.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 5 of the Complaint, and therefore denies same.

        6.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 6 of the Complaint, and therefore denies same.

        7.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 7 of the Complaint, and therefore denies same.




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                                           PARTIES

       8.      Defendant is without knowledge or information sufficient to admit or deny whether

“at all times material to this action” Plaintiff was a resident of Putnam County, Palatka, Florida

and, therefore, denies the same.

       9.      Defendant admits only that Plaintiff was a female but otherwise denies the

remaining allegations in Paragraph No. 9 of the Complaint.

       10.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 10 of the Complaint, and therefore denies same.

       11.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 11 of the Complaint, and therefore denies same.

       12.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 12 of the Complaint, and therefore denies same.

       13.     Admitted.

       14.     Admitted.

       15.     Defendant is without sufficient knowledge to admit or deny the truth of the

allegations in Paragraph No. 15 of the Complaint and, therefore, denies same.

       16.     Defendant is without sufficient knowledge to admit or deny the truth of the

allegations asserted in Paragraph No. 16 of the Complaint and, therefore, denies same.

       17.     Defendant is without sufficient knowledge to admit or deny the truth of the

allegations asserted in Paragraph No. 17 of the Complaint and, therefore, denies same.



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        18.     Defendant admits only that PCMC is an employer within the definition of Title VII

and the PDA, but denies all remaining allegations in Paragraph No. 18 of the Complaint.

        19.     Paragraph No. 19 of the Complaint states a legal conclusion to which no response

is required as the statute speaks for itself.

        20.     Defendant admits only that PCMC is an employer within the definition of the

FMLA but denies all remaining allegations in Paragraph No. 20 of the Complaint.

        21.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 21 of the Complaint, and therefore denies same.

        22.     Paragraph No. 22 of the Complaint states a legal conclusion to which no response

is required.

        23.     Defendant admits only that PCMC is an employer within the definition of the

FMLA but denies all remaining allegations in Paragraph No. 23 of the Complaint.

        24.     Defendant does employ 50 or more employees within 75 miles but denies that is

ever employed Plaintiff and therefore denies same.

        25.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 25 of the Complaint, and therefore denies same.

        26.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 26 of the Complaint, and therefore denies same.

        27.     Defendant is without sufficient knowledge to admit or deny the truth of the

remaining allegations asserted in Paragraph No. 27 of the Complaint and, therefore, denies same.



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       28.    Denied.

       29.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 29 of the Complaint, and therefore denies same.

       30.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 30 of the Complaint, and therefore denies same.

       31.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 31 of the Complaint, and therefore denies same.

       32.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 32 of the Complaint, and therefore denies same.

                                 GENERAL ALLEGATIONS

       33.    Defendant admits only that Plaintiff worked as a Registrar at its facility for Parallon

but denies that Plaintiff was employed by or an employee of PCMC, and as such, is without

sufficient knowledge to admit or deny the truth of the remaining allegations in Paragraph No. 33

of the Complaint and, therefore, denies same.

                                 GENERAL ALLEGATIONS

       1.     Defendant admits only that Plaintiff worked as a Registrar at its facility for Parallon

but denies that Plaintiff was employed by or an employee of PCMC, and as such, is without

sufficient knowledge to admit or deny the truth of the remaining allegations in Paragraph No. 33

of the Complaint and, therefore, denies same.



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       2.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 35 of the Complaint, and therefore denies same.

       3.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 36 of the Complaint, and therefore denies same.

       4.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 37 of the Complaint, and therefore denies same.

       5.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 38 of the Complaint, and therefore denies same.

       6.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 39 of the Complaint, and therefore denies same.

       7.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 40 of the Complaint, and therefore denies same.

       8.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 41 of the Complaint, and therefore denies same.




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       9.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 42 of the Complaint, and therefore denies same.

       10.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 43 of the Complaint, and therefore denies same.

       11.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 44 of the Complaint, and therefore denies same.

       12.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 45 of the Complaint, and therefore denies same.

       13.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 46 of the Complaint, and therefore denies same.

       14.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 47 of the Complaint, and therefore denies same.

       15.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 48 of the Complaint, and therefore denies same.




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        16.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 49 of the Complaint, and therefore denies same.

        17.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 50 of the Complaint, and therefore denies same.

        18.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 51 of the Complaint, and therefore denies same.

        19.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 52 of the Complaint, and therefore denies same.

        20.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 53 of the Complaint, and therefore denies same.

                                                COUNT I

   ALLEGED DISCRIMINATION IN VIOLATION OF TITLE VII OF THE CIVIL
 RIGHTS ACT OF 1964 AMENDED BY THE PREGNANCY DISCRIMINATION ACT

        21.     Defendant restates and incorporates its responses to Paragraph Nos. 1 through 53

of the Complaint as stated above.

        22.     Paragraph No. 55 of the Complaint states a legal conclusion to which no response

is required as the statute speaks for itself.

        23.     Paragraph No. 56 of the Complaint states a legal conclusion to which no response

is required as the statute speaks for itself.

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       24.    Defendant admits only that Plaintiff was a female but otherwise is without

sufficient knowledge to admit or deny the truth of the remaining allegations in Paragraph No. 57

of the Complaint and, therefore, denies same.

       25.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 58 of the Complaint, and therefore denies same.

       26.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 59 of the Complaint, and therefore denies same.

       27.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 60 of the Complaint, and therefore denies same.

       28.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 61 of the Complaint, and therefore denies same.

       29.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 62 of the Complaint, and therefore denies same.

       30.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 63 of the Complaint, and therefore denies same.




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         31.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 64 of the Complaint, and therefore denies same.

         32.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 65 of the Complaint, and therefore denies same.

         33.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 66 of the Complaint, and therefore denies same.

         34.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 67 of the Complaint, and therefore denies same.

         35.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 68 of the Complaint, and therefore denies same.1

                                                   COUNT II

                 ALLEGED GENDER DISCRIMINATION UNDER TITLE VII
                     AND THE PREGNANCY DISCRIMINATION ACT

         36.      Defendant restates and incorporates its responses to Paragraph Nos. 1 through 53

of the Complaint as stated above.




1
    In response to the unnumbered “WHEREFORE” paragraph found under Paragraph No. 68 of the Complaint
numbered (a) through (g), Defendant denies that any unlawful practices occurred and denies that Plaintiff is entitled
to any relief whatsoever.

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       37.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 70 of the Complaint, and therefore denies same.

       38.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 71 of the Complaint, and therefore denies same.

       39.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 72 of the Complaint, and therefore denies same.

       40.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 73 of the Complaint, and therefore denies same.

       41.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 74 of the Complaint, and therefore denies same.

       42.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 75 of the Complaint, and therefore denies same.

       43.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 76 of the Complaint, and therefore denies same.




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         44.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 77 of the Complaint, and therefore denies same.

         45.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 78 of the Complaint, and therefore denies same.

         46.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 79 of the Complaint, and therefore denies same.

         47.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 80 of the Complaint, and therefore denies same.2

                                                  COUNT III

               ALLEGED RETALIATION IN VIOLATION OF TITLE VII AND
                     THE PREGNANCY DISCRIMINATION ACT

         48.      Defendant restates and incorporates its responses to Paragraph Nos. 1 through 53

of the Complaint as stated above.

         49.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 82 of the Complaint, and therefore denies same.




2
  In response to the unnumbered “WHEREFORE” paragraph found under Paragraph No. 80 of the Complaint
numbered (a) through (g), Defendant denies that any unlawful practices occurred and denies that Plaintiff is entitled
to any relief whatsoever.

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       50.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 83 of the Complaint, and therefore denies same.

       51.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 84 of the Complaint, and therefore denies same.

       52.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 85 of the Complaint, and therefore denies same.

       53.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 86 of the Complaint, and therefore denies same.

       54.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 87 of the Complaint, and therefore denies same.

       55.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 88 of the Complaint, and therefore denies same.

       56.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 89 of the Complaint, and therefore denies same.




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         57.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 90 of the Complaint, and therefore denies same.

         58.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 91 of the Complaint, and therefore denies same.3

                                                   COUNT IV

                    ALLEGED DISCRIMINATION IN VIOLATION OF THE
                             FLORIDA CIVIL RIGHTS ACT

         59.      Defendant restates and incorporates its responses to Paragraph Nos. 1 through 53

of the Complaint as stated above.

         60.      Paragraph No. 93 of the Complaint states a legal conclusion to which no response

is required and Defendant further asserts that the statute speaks for itself.

         61.      Defendant admits only that Plaintiff was a female but otherwise is without

sufficient knowledge to admit or deny the truth of the allegations in Paragraph No. 94 of the

Complaint and, therefore, denies same.

         62.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 95 of the Complaint, and therefore denies same.

         63.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 96 of the Complaint, and therefore denies same.


3
  In response to the unnumbered “WHEREFORE” paragraph found under Paragraph No. 91 of the Complaint
numbered (a) through (g), Defendant denies that any unlawful practices occurred and denies that Plaintiff is entitled
to any relief whatsoever.

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       64.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 97 of the Complaint, and therefore denies same.

       65.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 98 of the Complaint, and therefore denies same.

       66.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 99 of the Complaint, and therefore denies same.

       67.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 100 of the Complaint, and therefore denies same.

       68.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 101 of the Complaint, and therefore denies same.

       69.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 102 of the Complaint, and therefore denies same.

       70.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 103 of the Complaint, and therefore denies same.




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         71.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and

as such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 104 of the Complaint, and therefore denies same.

         72.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 105 of the Complaint, and therefore denies same.4

                                                   COUNT V

    ALLEGED RETALIATION IN VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT

         73.      Defendant restates and incorporates its responses to Paragraph Nos. 1 through 53

of the Complaint as stated above.

         74.      Defendant admits only that Plaintiff was a member of a protected class under the

FCRA because she was a pregnant female but is otherwise without sufficient knowledge to admit

or deny the truth of the remaining allegations in Paragraph No. 107 of the Complaint and, therefore,

denies same.

         75.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 108 of the Complaint, and therefore denies same.

         76.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 109 of the Complaint, and therefore denies same.




4
  In response to the unnumbered “WHEREFORE” paragraph found under Paragraph No. 105 of the Complaint
numbered (a) through (g), Defendant denies that any unlawful practices occurred and denies that Plaintiff is entitled
to any relief whatsoever.

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         77.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 110 of the Complaint, and therefore denies same.

         78.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 109 of the Complaint, and therefore denies same.

         79.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 112 of the Complaint, and therefore denies same.

         80.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 113 of the Complaint, and therefore denies same.

         81.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 114 of the Complaint, and therefore denies same.

         82.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 115 of the Complaint, and therefore denies same.

         83.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 116 of the Complaint, and therefore denies same.5



5
  In response to the unnumbered “WHEREFORE” paragraph found under Paragraph No. 116 of the Complaint
numbered (a) through (g), Defendant denies that any unlawful practices occurred and denies that Plaintiff is entitled
to any relief whatsoever.

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                                         COUNT VI

                   ALLEGED INTERFERENCE WITH FMLA RIGHTS

       84.    Defendant restates and incorporates its responses to Paragraph Nos. 1 through 53

of the Complaint as stated above.

       85.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 118 of the Complaint, and therefore denies same.

       86.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 119 of the Complaint, and therefore denies same.

       87.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 120 of the Complaint, and therefore denies same.

       88.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 121 of the Complaint, and therefore denies same.

       89.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 122 of the Complaint, and therefore denies same.

       90.    Defendant admits only that PCMC was an employer subject to abide by the

regulations of the FMLA but denies all remaining allegations in Paragraph No. 123 of the

Complaint.




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       91.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 124 of the Complaint, and therefore denies same.

       92.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 125 of the Complaint, and therefore denies same.

       93.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 126 of the Complaint, and therefore denies same.

       94.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 127 of the Complaint, and therefore denies same.

       95.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 128 of the Complaint, and therefore denies same.

       96.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 129 of the Complaint, and therefore denies same.

       97.    Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 130 of the Complaint, and therefore denies same.




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         98.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 131 of the Complaint, and therefore denies same.

         99.      Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 132 of the Complaint, and therefore denies same.

         100.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 133 of the Complaint, and therefore denies same.

         101.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and

as such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 134 of the Complaint, and therefore denies same.6

                                                  COUNT VII

                  ALLEGED RETALIATION IN VIOLATION OF THE FMLA

         102.     Defendant restates and incorporates its responses to Paragraph Nos. 1 through 53

of the Complaint as stated above.

         103.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 136 of the Complaint, and therefore denies same.




6
  In response to the unnumbered “WHEREFORE” paragraph found under Paragraph No. 134 of the Complaint
numbered (a) through (f), Defendant denies that any unlawful practices occurred and denies that Plaintiff is entitled
to any relief whatsoever.

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       104.   Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 137 of the Complaint, and therefore denies same.

       105.   Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 138 of the Complaint, and therefore denies same.

       106.   Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 139 of the Complaint, and therefore denies same.

       107.   Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 140 of the Complaint, and therefore denies same.

       108.   Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 141 of the Complaint, and therefore denies same.

       109.   Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 142 of the Complaint, and therefore denies same.

       110.   Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 143 of the Complaint, and therefore denies same.




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         111.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 144 of the Complaint, and therefore denies same.

         112.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 145 of the Complaint, and therefore denies same.

         113.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 146 of the Complaint, and therefore denies same.

         114.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 147 of the Complaint, and therefore denies same.

         115.     Defendant denies that Plaintiff was employed by or an employee of PCMC, and as

such, is without sufficient knowledge to admit or deny the truth of the allegations in Paragraph

No. 148 of the Complaint, and therefore denies same.7

                                      DEMAND FOR JURY TRIAL

         In response to Plaintiff’s unnumbered paragraph following the “Demand for Jury Trial”

heading, Defendant acknowledges that Plaintiff seeks a trial by jury on issues so triable, but denies

that any such issues exist and denies that Plaintiff is entitled to any relief whatsoever.

                                         TO COMPLAINT AS A WHOLE




7
  In response to the unnumbered “WHEREFORE” paragraph found under Paragraph No. 148 of the Complaint
numbered (a) through (f), Defendant denies that any unlawful practices occurred and denies that Plaintiff is entitled
to any relief whatsoever.

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       Defendant denies each and every allegation of the Complaint not specifically admitted in

this Answer, and denies each and every allegation and inference of wrongdoing. Defendant

reserves the right to assert additional affirmative and other defenses and matters in avoidance that

may be disclosed by additional investigation and discovery.

                         AFFIRMATIVE AND OTHER DEFENSES

       In asserting the defenses that follow, Defendant does not assume the burden of proof as to

matters that, pursuant to law, are Plaintiff’s burden to prove. In addition, Defendant will continue

to investigate Plaintiff’s allegations as they may further develop during this case; therefore,

Defendant reserves the right to amend its Answer and Defenses.

                                       FIRST DEFENSE

       Defendant is not liable to Plaintiff because it is not, and never was, Plaintiff’s employer.

Therefore, Plaintiff’s Complaint fails to state a claim upon which relief may be granted because

the allegations do not support a claim as a matter of law for sex/gender/pregnancy discrimination

and retaliation against PCMC.

                                      SECOND DEFENSE

       Defendant is not liable to Plaintiff because it is not, and never was, Plaintiff’s employer.

Therefore, Plaintiff’s Complaint fails to state a claim upon which relief may be granted because

the allegations do not support a claim as a matter of law for interference with FMLA rights and

retaliation against PCMC.

                                       THIRD DEFENSE

       To the extent Plaintiff has failed to timely and properly exhaust all administrative remedies,

her claims must fail.




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                                      FOURTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, to the extent that they exceed the scope of

or are inconsistent with the Charge of Discrimination filed with the EEOC, the FCHR, or any other

federal, state, or local fair employment practice agency.

                                        FIFTH DEFENSE

       All claims in the Complaint, which were required to be and were not the subject of a timely

charge filed with the EEOC, the FCHR, or other federal, state, or local fair employment practice

agency, or any other applicable limitations period, are barred.

                                        SIXTH DEFENSE

       All claims in the Complaint that did not accrue within the time frame prescribed by Title

VII, the FMLA, FCRA, and PDA, or any other applicable limitations period, are barred.

                                     SEVENTH DEFENSE

       In the event Plaintiff is determined to be entitled to back or front pay, her entitlement to

recovery, for which Defendant expressly denies, is foreclosed to the extent she failed to mitigate

her damages.

                                      EIGHTH DEFENSE

       To the extent Plaintiff has suffered any damages as a result of any unlawful act by

Defendant, which Defendant expressly denies, Plaintiff’s recovery in this lawsuit must be set off

and/or reduced by all wages, commissions, compensation, pay, profits, other earnings or

remunerations, and benefits, regardless of form, received by Plaintiff subsequent to the alleged

adverse action Plaintiff claims to have suffered.

                                       NINTH DEFENSE

       Defendant denies that Plaintiff sustained any injury, damage or loss by reason of any act



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or omission on the part of Defendant. Further, the alleged injuries to Plaintiff were not legally or

proximately caused by any action by or matter attributable to Defendant.

                                         TENTH DEFENSE

       Plaintiff’s Complaint fails to state a cause of action because Plaintiff fails to plead

sufficient facts to establish that Defendant is an employer or joint employer of Plaintiff.

                                      ELEVENTH DEFENSE

       Defendant is not liable for punitive damages under federal law because Defendant, nor any

of Defendant’s employees high enough in its corporate hierarchy, committed any act with malice

or reckless indifference to Plaintiff’s protected rights, or approved, authorized, ratified, or had

actual knowledge, of any such acts.

                                       TWELFTH DEFENSE

       Defendant is not labile to Plaintiff because it is not, and never was, Plaintiff’s employer.

Even if the Court or jury ever finds Defendant was Plaintiff’s employer, Defendant is not liable

for liquidated or punitive damages because neither Defendant nor any of Defendant’s employees

or agents committed any act with malice or reckless indifference to Plaintiff’s protected rights.

       WHEREFORE, having fully answered and responded to the allegations in Plaintiff’s

Complaint, Defendant respectfully requests that:

       1.        Plaintiff’s claims be dismissed with prejudice in their entirety;

       2.        Each and every prayer for relief in Plaintiff’s Complaint be denied;

       3.        Judgment be entered in favor of Defendant;

       4.        All costs and reasonable attorneys’ fees be awarded to Defendant and against

Plaintiff; and

       5.        This Court grants Defendant such other and further relief as it deems just and



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appropriate.

        Dated this 2nd day of November, 2020.

                                           Respectfully submitted,

                                           FORDHARRISON LLP

                                           By:       /s/ Tracey K. Jaensch
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                                                     Attorneys for Defendant Parallon
                                                     Enterprises, LLC d/b/a HCA Healthcare



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 2, 2020, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will send notice of electronic filing to the

following:

                                    Paul M. Botros, Esq.
                                  Morgan & Morgan, P.A.
                                8151 Peters Road, Suite 4000
                                  Plantation, Florida 33324
                                 pbotros@forthepeople.com



                                                     /s/ Tracey K. Jaensch
                                                     Attorney for Defendant
WSACTIVELLP:11821239.1




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